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                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK




BANCO SAN JUAN INTERNACIONAL, INC.,


                             Plaintiff,
                                              Case No. 1:23-cv-06414-JGK
                    v.

THE FEDERAL RESERVE BANK OF NEW YORK
AND THE BOARD OF GOVERNORS OF THE
FEDERAL RESERVE SYSTEM


                             Defendants.




MEMORANDUM OF LAW IN SUPPORT OF BSJI’S MOTION FOR TEMPORARY
      RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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       Banco San Juan Internacional, Inc., a Puerto Rico international banking entity (“BSJI” or

the “Bank”), respectfully submits this Memorandum of Law in Support of its Motion for

Temporary Restraining Order and Preliminary Injunction (the “Motion”), pursuant to Federal Rule

of Civil Procedure 65(a) and (b), to preserve the status quo and prevent the Federal Reserve Bank

of New York (“FRBNY”) and the Board of Governors of the Federal Reserve System (the

“Board”) from implementing a number of actions that would cause BSJI irreparable harm,

including closing BSJI’s master account and terminating BSJI’s access to Federal Reserve System

services. Absent grant of injunctive relief, the FRBNY and the Board will make it impossible for

the Bank to function as a depository institution, which is all but certain to result in the Bank’s

demise.

                               PRELIMINARY STATEMENT
       BSJI, a master account holder with the FRBNY since 2012, brings this Motion to enjoin

the FRBNY and the Board from arbitrarily and unlawfully closing BSJI’s master account and

terminating its access to essential FRBNY services on July 31, 2023. The decision to close BSJI’s

master account contravenes the FRBNY’s and the Board’s statutory duty to provide access to

master accounts, ignores Supreme Court precedent restricting executive branch agencies from

unilaterally expanding their regulatory ambit, and violates their obligation to engage in reasoned

decision-making. Indeed, the Board’s and the Federal Reserve Banks’ recent attempts to make

themselves the sole, unchecked arbiters of master account access despite their statutory mandate

to provide such services have attracted both Congressional and judiciary scrutiny. Yet, as the

FRBNY’s and the Board’s actions here show, they remain undeterred, and BSJI’s existence now

hangs in the balance.

       For the past four years, BSJI has worked in lockstep with the FRBNY to develop

comprehensive internal controls and compliance systems, devoting both an immense amount of

time and vast financial resources to complying with the FRBNY’s every request and

recommendation. BSJI’s efforts culminated in the development of what one former FRBNY

official described as a “front of the line” compliance system, many components of which were
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mirrored in guidance the Board has since issued to other banks. Despite these Herculean efforts,

after it changed its reason for doing so several times, the FRBNY informed BSJI on April 24 and

June 30, 2023 (the “2023 Closure Letters”) that the FRBNY would soon shutter BSJI’s master

account, allegedly due to “concerns” with this same compliance program.

       The 2023 Closure Letters are the culmination of the FRBNY’s dedicated campaign to close

BSJI’s master account. One year ago, in July of 2022, the FRBNY announced that it would

permanently shutter BSJI’s master account based on a purported failure to meet an alleged June

2022 filing deadline that, remarkably, is not contained in any FRBNY guideline, letter, contract,

or rule. What’s more, before that announcement, BSJI had twice requested in writing that the

FRBNY clarify, in light of conflicting guidance, the due date for the filing. The FRBNY never

responded, preferring instead to lie in wait only to announce, just weeks after its “phantom

deadline” had purportedly passed, that BSJI’s alleged failure to meet that date was grounds for

termination of its master account. The Board – which is statutorily required to exercise

supervisory authority over the FRBNY – blessed this decision and rebuffed BSJI’s request that it

intervene to prevent the FRBNY’s unlawful action. In fact, the Board went so far as to state that

the FRBNY has total “discretion” over BSJI’s master account.

       It was only after BSJI advised that it would bring the issue to court that the FRBNY backed

down last year, informing BSJI that it would take additional time to “consider” whether it would

reverse its termination decision. Unfortunately, the reprieve was only temporary. The FRBNY’s

April 24 and June 30, 2023 termination letters, grounded in stale data and baseless assertions,

make clear that the FRBNY will not stop coming up with new reasons until BSJI is stripped of its

master account.

       The FRBNY’s and the Board’s actions underscore their belief that the FRBNY has the

unfettered discretion to terminate, at its whim, a legally eligible institution’s access to its master

account and the corresponding Federal Reserve System services. This extraordinary interpretation

of the power of a federal agency – or indeed, any federal instrumentality – finds no support in the

Constitution, in federal statute or regulation, or in contract. On the contrary, each either entirely

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negates or substantially limits the breadth of the FRBNY’s discretion; at a minimum, they mandate

that the FRBNY engage in reasoned, good faith, and non-arbitrary decision-making when

exercising its authority.

        The common-sense nature of this proposition is validated by the history of the Board, the

Federal Reserve Banks, and governing law. Until recently, the fact that a legally eligible

institution (like BSJI) had a right to a master account was both entirely uncontroversial and

explicitly recognized by the Board and the Federal Reserve Banks. Only within recent years,

seemingly in conjunction with the growing number of institutions, unlike BSJI, that service non-

traditional industries (e.g., fintech firms or cryptocurrency firms) have these federal entities taken

the position that they possess unchecked authority to grant or deny master accounts to legally

eligible institutions.

        In light of the FRBNY’s refusal to change course, BSJI seeks judicial intervention to

validate its right to a master account. Under the present unique circumstances, injunctive relief is

wholly warranted. That BSJI will suffer irreparable harm from the closing of its master account

is beyond serious debate. A master account is the gateway to crucial Federal Reserve Bank

payment services, which are the backbone of the U.S. national banking system and dollar-

denominated payments (all of BSJI’s accounts are dollar-denominated). Without access to one, a

depository institution is a mere vault, meaning BSJI will almost certainly be unable to meet its

obligations to its depositors. BSJI is also particularly vulnerable, having been through this

debilitating exercise before. The cumulative loss of customer goodwill and patronage will be

inescapable and devastating and is well-settled to constitute irreparable harm.

        More fundamentally, BSJI is likely to succeed on the merits or, at a minimum, show

“serious questions” going to the merits of its claims. These conclusions follow a fortiori from the

fact that the only federal circuit court judge to have addressed the issue conclusively determined

that the Federal Reserve Banks cannot preclude legally eligible institutions, like BJSI, from

accessing a master account. And, just last month, a sister district court relied on that case and

found a triable question as to whether the Board and Federal Reserve Banks have any discretion

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concerning master account access, a determination “based mostly” on the soundness of the federal

circuit court’s analysis. Custodia Bank, Inc. v. Fed. Rsrv. Bd. of Governors, No. 22-CV-00125

(D. Wyo. June 8, 2023), Dkt. 164 at 12. These decisions are in line with recent United States

Supreme Court precedent condemning agency efforts to create “new [statutory] regime[s]” through

overly broad interpretations of delegated statutory authority. See Biden v. Nebraska, 143 S. Ct.

2355, 2369 (2023).

       But even if the FRBNY and the Board possess some level of discretion in master account-

related decision making, their actions here can hardly be described as meeting their statutory

obligations. Simply put, the FRBNY continues to conjure either unsupported or pretextual reasons

to act against BSJI. And the FRBNY’s shifting “rationales” for closing BSJI’s master account –

including a “phantom deadline” that the FRBNY could not be bothered to share with BJSI, a

“forward-looking enhancements are deficiencies” rationale that fundamentally mischaracterized

BSJI’s compliance system, and an “unspecified shell company” theory devoid of any basis – speak

volumes. The FRBNY’s decision is, accordingly, patently unreasonable, even if it is permitted to

exercise discretion concerning master account access; so too is the Board’s failure to exercise its

supervisory authority over the FRBNY, particularly where, as here, it is well aware of the FRBNY’s

dispute with BSJI and the plainly improper grounds on which it rests.

       BSJI has repeatedly offered to engage constructively both with the FRBNY and the Board

and accept, as it has always done, still additional limitations to address any reasonable concerns they

might have, so long as BSJI can continue to serve its customers. Though the FRBNY and the Board

lack the discretionary power they so vehemently claim, it was never the intent of BSJI to litigate the

ambit of their statutory authority, and it remains readily willing to accommodate the FRBNY and

the Board with the imposition of reasonable conditions on usage of the master account. They have

declined all such efforts to reach an amicable resolution. The Bank is also amenable to any

reasonable conditions this Court deems necessary to protect any legitimate interest the FRBNY and

the Board might reasonably assert during the pendency of a temporary or preliminary injunction.



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                                        STATEMENT OF FACTS 1

I.         BSJI
           BSJI, incorporated in 2011, is an international banking entity (“IBE”) operating from one

office in Guaynabo, Puerto Rico. Under Puerto Rican law, the principal goal of IBEs is to attract

United States and foreign investors to Puerto Rico. Although that public policy purpose existed

long before Hurricane Maria, the storm’s extensive damage intensified the territory’s pressing

need for economic development. BSJI primarily offers commercial and investment banking

services.

           BSJI operates under the regulation, supervision and examination of the Office of the

Commissioner of Financial Institutions of Puerto Rico (“OCIF”) with whom BSJI regularly

consults and engages. Declaration of Francisco Aponte (“FA Decl.”) ¶ 2. The Bank is not the

subject of any litigation of any kind (regulatory or otherwise), or any actual or threatened U.S.

federal or Commonwealth government enforcement actions or remedial decrees. Id. On the

contrary,

                                                                                               . BSJI’s

capital is well over any regulatory benchmark established by any U.S. federal regulator for a “well-

capitalized” depository institution. Declaration of Hector J. Vazquez (“HJV Decl.”) ¶ 19. As of

July 13, 2023, the total stockholder’s equity of BSJI represented more than 60% of the total assets
of BSJI, and more than 76% of the total assets of BSJI is in cash and due from banks. In short,

BSJI is a financially strong depository institution.

           More than 10 years ago, on April 5, 2012, pursuant to a Foreign Banking Institution

Account Agreement between BSJI and the FRBNY, BSJI opened its master account with the

FRBNY. Declaration of Abbe D. Lowell (“ADL Decl.”) Ex. 1. The Account Agreement is

governed by New York law and incorporates “all the provisions” of Operating Circular No. 1,

Account Relationships. Id. at 1 (“Operating Circular No. 1”). Operating Circular No. 1, in turn,

sets forth the terms under which a Financial Institution may open, maintain, and terminate a Master

1
    BSJI incorporates by reference the Complaint in this action.

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Account with a Federal Reserve Bank. ADL Decl. Ex. 2. Operating Circular No. 1 is also

governed by New York law and incorporates a duty of care applicable to both the FRBNY and the

contracting bank. Id. § 7.4. And because the Account Agreement is governed by New York law,

the Account Agreement, like all other agreements governed by New York law, “impl[ies] a

covenant of good faith and fair dealing in the course of its performance.” 511 W. 232 nd Owners

Corp. v. Jennifer Realty Co., 98 N.Y.2d 144, 153 (2002). This implied duty includes “a pledge

that neither party shall do anything which will have the effect of destroying or injuring the right

of the other party to receive the fruits of the contract.” Id.

II.     BSJI’S DEPENDENCE ON ITS MASTER ACCOUNT AND THE SUBSTANTIAL
        SYSTEMS AND CONTROLS IT HAS IMPLEMENTED TO PROTECT IT

        A.       The FRBNY’s temporary suspension of BSJI’s account in 2019
        BSJI and the FRBNY worked collaboratively together for many years without incident. In

February 2019, however, the FRBNY suspended BSJI’s master account, reacting to media reports

regarding a federal investigation then being conducted regarding two loan facilities granted by

BSJI, the first of which primarily benefitted New York Stock Exchange-listed Caterpillar Inc., in

its business dealings with Petroleos de Venezuela S.A. (“PDVSA”), the Venezuelan state-owned

oil and natural gas company. These agreements were, as the investigating authorities ultimately

concluded, “sophisticated” and perfectly lawful. 2
        The FRBNY’s suspension decision, and the paper-thin “media reports” rationale that

catalyzed it, were seemingly driven by a broader policy aimed at restricting master account access

to Puerto Rican IBEs more broadly. Public reporting following BSJI’s suspension identified a

February 27, 2019 letter from the FRBNY where it acknowledged its own policy of denying Puerto

Rico IBEs master account access, purportedly “in light of recent events, including the expansion




2
 United States Attorney’s Office, District of Puerto Rico, Bank Of San Juan Internacional, Inc. and The U.S.
Attorney’s Office For The District Of Puerto Rico Resolve Pending Litigation And Related Matters (Feb. 11, 2020),
available at https://www.justice.gov/usao-pr/pr/bank-san-juan-internacional-inc-and-us-attorney-s-office-district-
puerto-rico-resolve.
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of U.S. economic sanctions relating to Venezuela.” 3 BSJI, it was apparent, was (and still is)

“guilty until proven innocent” in the FRBNY’s eyes.

        Following the FRBNY’s abrupt suspension of BSJI’s services, the FRBNY and BSJI held

an in-person meeting on February 11, 2019 to discuss BSJI’s accounts and Federal Reserve Bank

services. At this meeting, the FRBNY informed BSJI that it would consider resuming limited

services if BSJI could provide adequate assurances that no illicit activity would be processed

through BSJI’s accounts at the FRBNY. BSJI then began a multi-year process pursuant to which

BSJI devoted substantial time, expended extraordinary resources, and worked closely both with

the FRBNY and well-credentialed consultants to build a top-of-the-line system of Bank Secrecy

Act and anti-money laundering (“BSA/AML”) and sanctions controls and governance.

        B.       BSJI’s extensive efforts to enhance its internal controls and protect its master
                 account
        In April 2019, BSJI retained the former Chairman of the FDIC, William M. Isaac, and

former compliance and ethics executive Richard J. Wolf, both of whom were then associated with

the global consulting firm FTI Consulting. 4 HJV Decl. ¶ 7. Mr. Isaac was appointed by President

Carter and confirmed by the United States Senate in early 1978 to serve on the board of directors

of the Federal Deposit Insurance Corporation. President Reagan appointed him as Chairman of

the FDIC, where he served for five years, steering the industry out of a financial crisis that saw

scores of bank failures. Declaration of William M. Isaac (“WMI Decl.”) ¶ 1. Mr. Wolf was at the

time a senior advisor with FTI Consulting, and he had previously served in a variety of legal and

compliance roles, including a period of service as Senior Advisor for the Federal Reserve Bank of

New York. Declaration of Richard J. Wolf (“RJW Decl.”) ¶ 2.

        BSJI retained Mr. Isaac and his highly credentialed team at FTI as independent consultants

to assess and remediate, as appropriate, BSJI’s BSA/AML compliance program. Critically, in its


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  Reuters, Exclusive: New York Fed Cracks Down on Puerto Rico Bank Following Venezuela Sanctions (April 18,
2019), available at https://www.reuters.com/article/us-venezuela-politics-puertorico-exclusi/exclusive-new-york-
fed-cracks-down-on-puerto-rico-banks-following-venezuela-sanctions-idUSKCN1RU2EI.
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  Messrs. Isaac and Wolf left FTI in 2020 and joined a newly created firm called Isaac-Milstein Group LLC, which is
predecessor in interest to Secura-Isaac Group LLC, where Mr. Isaac is chairman and Mr. Wolf is managing director.
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most recent examination prior to FTI’s retention, OCIF




               But to satisfy the FRBNY, and in keeping with BSJI’s own business philosophy,

BSJI was determined to enhance further its system of controls and governance. At Mr. Isaac’s

direction and under his leadership, FTI dispatched a team of BSA/AML experts to the headquarters

of BSJI in Guaynabo, Puerto Rico, to assess BSJI’s BSA/AML compliance program and identify

any gaps in the program, formulate a comprehensive plan to address any shortcomings, and

remediate any deficiencies in a sustainable and lasting manner. WMI Decl. ¶ 3.

       Mr. Isaac’s team also conducted a detailed 15-month BSA/AML “lookback” review of

customer transactions executed from the period January 1, 2018 to March 30, 2019. WMI Decl. ¶

5. The “lookback” was an extraordinary exercise, lasting about a year, requiring more than 5,500

hours, precipitating more than 200 requests for information, and costing BSJI over $4 million.

FTI certified the results to the FRBNY, concluding that it discovered no illicit activity at BSJI.

HJV Decl. ¶ 12.

       While the FRBNY conveyed to BSJI its discomfort with IBEs generally, purportedly

because they are only locally regulated and not federally examined (RJW Decl. ¶ 8), the FRBNY

indicated greater comfort with and fewer concerns about BSJI as discussions matured. FRBNY’s

general counsel noted that BSJI’s work put it at the “front of the line” with regard to their

assessment of the quality of IBE compliance programs. RJW Decl. ¶ 19.

       C.      The FRBNY, in recognition of BSJI’s extensive efforts, reinstates BSJI’s
               master account
       Finally, on December 3, 2020, 22 months after the FRBNY suspended BSJI’s master

account, the FRBNY notified BSJI that the Reserve Bank “has completed its review [] and is

satisfied that BSJI has met the requirements of Phase 1B.” RJW Decl. ¶ 27. Accordingly, effective

December 14, 2020, BSJI had its services and “unrestricted access to the Fedwire Securities



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Service restored.” Id. The 22-month period during which BSJI lacked access to Federal Reserve

master account services was marked by two indisputable facts.

           First, BSJI built a system of BSA/AML compliance controls and governance acceptable to

its own regulator and transformed it into a top-tier system beyond that of its immediate peer group,

and which proved acceptable to the FRBNY. Indeed, some of BSJI’s ideas, such as the use of

credentialed third parties acceptable to the FRBNY to act as independent examiners, were adopted

by the FRBNY in recently promulgated guidance to IBEs and other financial institutions. BSJI

has relied on, and continues to rely on, a battery of trusted, independent BSA/AML audit firms.

They have each concluded that BSJI’s BSA/AML and OFAC Compliance Program is satisfactory,

comprehensive, and effective in implementing the current BSA/AML and OFAC regulatory

requirements and guidance. Declaration of Samson Leung (“SL Decl.”) at ¶ 28, Ex. A; HJV Decl.

¶ 73.

           Second, BSJI’s 22-month inability to access Federal Reserve services caused it enormous

reputational and financial harm. Among other things, BSJI was forced to substantially shrink, and

it today retains only about two percent of the depositors it had prior to the suspension of its access

to these services, while the corresponding dollar amount of total deposits dropped by over 66%

during the same period. HJV Decl. ¶¶ 64-65.

III.       BSJI’S 2021 REPORTS FOR THE FRBNY AND ITS PREPARATION FOR THE
           2022 SUBMISSIONS
           In 2021, in light of the COVID-19 pandemic, K2 Integrity (“K2”),5 BSJI, and the FRBNY

reached a variety of accommodations on the respective due dates of various compliance reports.

Accordingly, K2 produced (i) the OFAC screening technical validation on June 14, 2021, (ii) the

BSA/AML and OFAC compliance program assessment on June 16, 2021, and (iii) the BSA/AML

transaction monitoring technical validation on June 29, 2021. While the reports were all submitted

in June 2021, the end of the review period for the various subject matters ranged from April 30

through June 2021. HJV Decl. ¶ 22.

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    K2 Integrity is a premier global risk advisory firm.
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       In light of the previous year’s varying review periods, together with the fact that the

FRBNY requires independent reports cover a 12-month period, BSJI and K2 concluded that it

would be most appropriate to align the review periods going forward, and therefore to set the 2022

review period to be through and including June 30. In this way, BSJI and K2 would ensure 12

months of non-overlapping data.

       Consistent with the FRBNY’s guidance to contact it in the event of any questions, and to

ensure its understanding of the requisite requirements was correct, BSJI reached out to the FRBNY

seeking guidance. In an April 7, 2022 email to Claudette Bridgewater, BSJI advised the FRBNY

that the contemplated review period would extend until June 30 and, consistent with the FRBNY

Handbook’s Frequently Asked Questions, the final reports would be prepared and submitted

within 90 days from the end date of the review period. ADL Decl. Ex. 3 pp. 9-10 (FRBNY,

Frequently Asked Questions Concerning the Federal Reserve Bank of New York Account and

Financial Services Handbook); HJV Decl. Ex. 1.

       BSJI’s outreach went unanswered. Exercising diligence, BSJI followed up with a second

correspondence, this time on June 3, 2022, to Ms. Bridgewater, again describing the scope of the

review period and plan for submitting its report. HJV Decl. Ex. 2. The FRBNY again did not

respond. Hearing nothing, and in light of BSJI’s close contacts with the FRBNY, BSJI reasonably

believed the FRBNY had no concerns with BSJI’s proposed submission date.

IV.    THE FRBNY’S PRETEXTUAL BASIS FOR CLOSURE OF THE MASTER
       ACCOUNT AND ENSUING PAUSE OF THAT DECISION
       Without warning, and despite BSJI’s unanswered requests for guidance, in a letter dated

July 18, 2022, the FRBNY advised BSJI that it was terminating BSJI’s access to Federal Reserve

services and its master account on September 15, 2022. HJV Decl. Ex. 3. According to the

FRBNY, the three reports then being prepared by K2 should have been but were not submitted in

June 2022. Id. The FRBNY told BSJI that it had concluded that BSJI posed an “undue risk to the

New York Fed due to, among other things, this noncompliance.” Id. The FRBNY offered no

explanation of the purported “other things” or “noncompliance” to which it vaguely referred. Id.

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       For BSJI, considering its recent, extensive history with the FRBNY, the FRBNY

notification was a shock. By letter dated July 19, 2022, BSJI’s management reminded the FRBNY

of its earlier requests for guidance that had gone unanswered and re-explained the process and

thinking behind the K2 reports, which by then were already in the preparation stage. HJV Decl.

Ex. 4. On an ensuing August 11, 2022 call between the parties, the FRBNY stated that its position

would not change, insisting that the missed deadline for the reports was clear. HJV Decl. ¶ 34.

The FRBNY did not address its failure to respond to BSJI’s earlier correspondence (other than to

say it did not need to), and it declined to engage in any dialogue that would permit BSJI to retain

access to the Federal Reserve services.

       Throughout August 2022 and into September 2022, BSJI repeatedly attempted to engage

in constructive dialogue with the FRBNY, but the FRBNY rebuffed such efforts. Though the

FRBNY extended the termination date two weeks, to September 29, 2022, it made clear that its

decision had not changed. The FRBNY likewise made no effort to identify to BSJI the “other

things” it claimed caused the bank to be in “noncompliance,” but rather reaffirmed that the

“primary driver” of its decision was the purportedly missed phantom deadline. HJV Decl. ¶ 39.

Given that the FRBNY would not engage in any dialogue with BSJI, and recognizing that BSJI

was confronting an existential threat, BSJI prepared to bring the issue to this Court and so advised

the FRBNY. In total transparency, on September 15, 2022, BSJI informed the FRBNY that, absent

an amicable resolution, it would immediately file suit concerning the FRBNY’s actions. HJV

Decl. Ex. 12. Four days later, on September 19, 2022, the FRBNY responded that it would pause

its termination of BSJI’s account so that it could “consider” whether BSJI’s filings – those that it

claimed were delinquently submitted – impacted “its decision to terminate BSJI’s master account.”

The FRBNY also advised that it would send BSJI a Request for Information (“RFI”) the response

to which the FRBNY could consider in its forward decision-making. HJV Decl. ¶ 44.




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V.     THE BOARD’S VALIDATION OF THE FRBNY’S UNFETTERED CLAIMS TO
       DISCRETION
       The FRBNY did not act alone when it decided to terminate BSJI’s master account: the

Board, which is the FRBNY’s supervising authority, both empowered and approved this action.

Beginning in May 2021 – conspicuously, shortly after multiple lawsuits challenged the authority

of Federal Reserve Banks to deny master accounts to statutorily-eligible entities – the Board began

developing proposed guidelines that purported to clarify both that the Federal Reserve Banks held

discretionary authority to grant or deny master account requests and the factors that Federal

Reserve Banks would assess in exercising this discretion. Rather than acknowledging the lack of

a statutory basis for the power the Federal Reserve Banks claimed, the Board doubled down,

finalizing “guidelines” – tellingly, not regulations – that were published in August 2022 (the

“Guidelines”) that purport to provide the Federal Reserve Banks with the “discretion” the FRBNY

and the Board are now using to put BSJI out of business.

       The Board likewise acted to validate the FRBNY’s termination of BSJI’s master account

specifically. Facing an increasingly obstinate FRBNY, the former FDIC Chairman Bill Isaac, on

behalf of BSJI, requested the Board’s assistance in resolving the dispute amicably in August 2022,

emphasizing that it was BSJI’s desire for the parties to reach mutual agreement. The Board

rejected BSJI’s request and made clear that, while it had exercised its supervisory authority to

engage the FRBNY in discussions concerning BSJI and its master account, it would not utilize

that same authority to prevent the FRBNY from implementing their plainly improper termination
decision. WMI Decl. Ex.1. The reason for this was just as BSJI feared: the FRBNY, according

to the Board, held ultimate “discretion over BSJI's master account and access to Federal Reserve

services.” Id.

VI.    THE FRBNY CONCOCTS ADDITIONAL PRETEXTUAL GROUNDS FOR
       CLOSING BSJI’S MASTER ACCOUNT
       Throughout the remainder of 2022 and early 2023, BSJI continued to work diligently

alongside the FRBNY. Despite the FRBNY having no supervisory or examination authority over

BSJI, BSJI submitted additional reports that the FRBNY requested, timely responded to the

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FRBNY’s various RFIs, and prepared letters detailing various safeguards the Bank was

implementing. BSJI even went so far as to volunteer for FRBNY supervision, so as to remove

any shadow of a doubt concerning the robustness of BSJI’s compliance programs and affording

the FRBNY access to anything it might need. FA Decl. ¶ 48. During this six-month period, the

FRBNY remained silent concerning the substance of BSJI’s myriad submissions, providing

neither feedback nor criticism. BSJI hoped that the adage “no news is good news” held true.

       It did not. Without warning or an opportunity to be heard, by letter dated April 24, 2023,

the FRBNY informed BSJI that it would be moving forward with its decision to close BSJI’s

master account on June 20, 2023. HJV Decl. Ex. 4. The FRBNY claimed that a “thorough” review

of BSJI’s submissions had revealed that the Bank somehow posed “an undue risk to the overall

economy” and therefore violated Principle 5 of the Board’s August 2022 Guidelines: a staggering

conclusion concerning a bank that, at the time of the letter’s issuance, had fewer than 20 retail

clients. Even if one takes an extreme example and assumes that all of BSJI’s transactions during

the 2022 review period were “illicit,” such activity would represent (i) only 0.000125 percent of

the gross domestic product (“GDP”) of the United States and (ii) only 0.000032 percent of GDP

of the world. From a quantitative standpoint, the potential illicit activity flowing through BSJI’s

Fed account is entirely insignificant to the overall economy. Declaration of Christopher Laursen

(“CL Decl.”) ¶ 22.

       BSJI issued an exhaustive response to the FRBNY’s letter on May 19. HJV Decl. Ex. 19.

While the FRBNY identified 16 concerns in its April 24, 2023 Closure letter, the FRBNY lifted

13 of them from K2’s 2022 reports, which had identified these 13 as mere recommended

“enhancements” to an already satisfactory compliance program. Id. The FRBNY disregarded

K2’s findings, inexplicably recharacterizing the 13 as programmatic “deficiencies.” In its

response, BSJI advised the FRBNY that BSJI, in the ordinary course, had already addressed these

13 observations so that the 13, however characterized, had been rendered moot. The FRBNY

would have been well aware of these developments had it not ignored BSJI’s requests for outreach.



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BSJI’s response also included a detailed, 15-page chart identifying responses to all of the

FRBNY’s concerns. HJV Decl. Ex. 19.

       But BSJI’s efforts were to no avail, and the FRBNY once again changed course. While

the FRBNY elected not to engage BSJI before its determination to close the master account, it

finally granted BSJI the courtesy of a call after BSJI’s three post-April 24 submissions. During

that June 20, 2023 call between the parties, the FRBNY no longer relied upon its “forward-looking

enhancements are deficiencies” rationale. Rather, the FRBNY now hung its hat on the notion that

BSJI entertains a high volume of transactions of “party-related” “shell companies” acting in “high-

risk” jurisdictions. But in consistent form, the FRBNY failed to identify a single specific

transaction it deemed to illustrate this risk, which BSJI made clear in an ensuing June 27, 2023

letter. HJV Decl. Ex. 22. Indeed, none of BSJI’s customers can fairly be characterized as a “shell

company,” nor has there been any indication of illicit activity. See AML Rightsource Attestation.

¶¶ 4-8. The FRBNY’s “unspecified shell company” rationale simply lacked basis. But none of

this mattered because the FRBNY had already determined it would terminate BSJI’s master

account, and it informed BSJI by letter that it would close BSJI’s master account on July 31, 2023.

The FRBNY made that decision even though it did not actually send auditors to BSJI but instead

required BSJI to hire (at great cost) nationally-recognized outside independent BSA/AML

auditors, who actually blessed BSJI compliance program.

       BSJI made repeated efforts to engage the FRBNY and to alleviate the urgency of this

motion. Most recently, counsel for BSJI had a call on July 10 with counsel for the FRBNY to try

to work out a briefing schedule and obviate the need for a TRO. The FRBNY was amenable to

working out a schedule but informed counsel for BSJI on July 13 that it would not agree to suspend

BSJI’s account termination while BSJI sought a judicial determination of its rights. Accordingly,

BSJI has no choice but to now seek emergency relief in aid of its case.

                                         ARGUMENT

       “[T]he purpose of a preliminary injunction is to maintain the status quo ante pending a full

hearing on the merits.” Abdul Wali v. Coughlin, 754 F.2d 1015, 1025 (2d Cir. 1985), overruled on

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other grounds, United States v. Thorn, 317 F.3d 107 (2d Cir. 2003). To obtain such relief in this

Circuit, a movant must show: (a) ““(1) irreparable harm absent injunctive relief; (2) either a

likelihood of success on the merits, or a serious question going to the merits to make them a fair

ground for trial, with a balance of hardships tipping decidedly in the plaintiff's favor; and (3) that

the public's interest weighs in favor of granting an injunction.” Red Earth LLC v. United States,

657 F.3d 138, 143 (2d Cir. 2011). “It is well established that in this Circuit, the standard for an

entry of a TRO is the same as for a preliminary injunction.” Somoza v. NYC Dep’t of Educ., No.

06 CIV. 5025 (VM), 2006 WL 1981758, at *3 (S.D.N.Y. July 10, 2006).

I.     BSJI WILL SUFFER IRREPARABLE HARM
       “[T]he showing of irreparable harm is the ‘single most important prerequisite for the

issuance of a preliminary injunction.”’ Frank Brunckhorst Co. v. G. Neileman Brewing Co., Inc.,

875 F. Supp. 966, 974 (E.D.N.Y. 1994) (citing Bell & Howard: Co. v. Masel Supply Co. Corp., 719

F.2d 42, 45 (2d Cir. 1983)). Irreparable harm is defined as “certain and imminent harm for which

a monetary award does not adequately compensate,” (Wisdom Imp. Sales Co. v. Labatt Brewing

Co., 339 F.3d 101, 113 (2d Cir. 2003)) and exists where the movant demonstrates that “but for the

grant of equitable relief, there is a substantial chance that upon final resolution of the action the

parties cannot be returned to the positions they previously occupied.” Brenntag Int'l Chem., Inc.

v. Bank of India, 175 F.3d 245, 249 (2d Cir. 1999).

       The impending termination of BSJI’s master account presents a textbook example of

irreparable harm: absent emergency relief, BSJI is almost certain to experience a terminal loss of

business when access to its master account and Federal Services systems is ended. RxUSA

Wholesale, Inc. v. Dep't of Health & Hum. Servs., 467 F. Supp. 2d 285, 301 (E.D.N.Y. 2006),

(finding the potential destruction of plaintiffs’ businesses constitutes irreparable injury); Otero

Sav. & Loan Ass’n v. Bd. of Governors of Fed. Rsrv. Sys., 497 F. Supp. 370, 371 (D. Colo 1980)

(finding preliminary injunction warranted where Board’s actions would result in irreparable harm

as it would “interrupt banking services” for the savings and loan association’s customers). A

master account is the gateway to Federal Reserve Bank payment services; access to those services
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is essential for a depository institution to operate and service its clients. See Fourth Corner Credit

Union v. Fed. Rsrv. Bank of Kansas City, 861 F.3d 1052, 1069 (10th Cir. 2017) (“[A] nonmember

depository institution … can operate only by obtaining its own master account or using a

middleman that has a master account.”) (Op. of Bacharach, J.); see Declaration of James C.

Watkins (“JCW Decl.”) at ¶¶ 4. By terminating BSJI’s account, the FRBNY will not only

foreclose direct access to these services, but likely those by any “middleman” financial institutions

that have their own master accounts as such institutions roundly refuse to facilitate payment

services for banks that have had their master accounts terminated by a Federal Reserve Bank.

RJW Decl. ¶ 6; HJV Decl. ¶ 71; WMI Decl. ¶ 20. 6

         The inevitability of such harm is not speculation or hyperbole. It is aptly evidenced by the

consequence of the FRBNY’s prior suspension of its master account, after which BSJI lost more

than 90% of its client base. HJV Decl. ¶ 64. There is little question that having lost more than

90% of its client base the first time around, when the master account was merely suspended, BSJI

is unlikely to survive another such blow. And a total loss of business is “well settled [to]

constitute[] irreparable harm.” RxUSA Wholesale, Inc., 467 F. Supp. 2d at 301.

         It is equally recognized that a company’s “loss of reputation, goodwill, and business

opportunities” – even where that harm is not fatal to the company’s business – warrants injunctive

relief. Register.com, Inc. v. Verio, Inc., 356 F.3d 393, 404 (2d Cir. 2004); see also Rex Med. L.P.

v. Angiotech Pharm. (US), Inc., 754 F. Supp. 2d 616, 621 (S.D.N.Y. 2010). Courts routinely find

such irreparable harm where the loss of goodwill or business relationships has left a party unable

to provide its product to its customers. See, e.g., Reuters Ltd. v. United Press Int’l, 903 F.2d 904,

909 (2d Cir. 1990) (concluding the harm to plaintiff’s reputation and the loss of goodwill that

resulted from its inability to supply its customers with the terminated product constitutes

irreparable harm); John B. Hull, Inc. v. Waterbury Petroleum Prods., Inc., 588 F.2d 24, 28-29 (2d




6
 In fact, two local banks that had provided BSJI correspondent services terminated those services in 2019 as a direct
result of the FRBNY decision to suspend BSJI’s master account. RJW Decl. Ex.1 p. 7.
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Cir. 1978) (“A threat to the continued existence of business can constitute irreparable injury.”);

Rex Medical, 754 F. Supp. 2d at 621–22.

       That BSJI has not recovered its losses since the December 2020 restoration of its master

account reflects this reality. Just as it was in the process of restoring its relationships and

reputation from the FRBNY’s prior actions and threats, termination now will deprive the Bank of

the ability to carry out the routine banking services its customers rely upon, invariably resulting in

a loss of goodwill from said customers and, in turn, their patronage. Indeed, in light of the taint

of the previous FRBNY account suspension, BSJI is particularly vulnerable, as other financial

services institutions that would ordinarily provide help will not do so and the few customers who

weathered the last storm may simply decide they can no longer tolerate the turbulence. RJW

Decl. ¶ 6. Even if BSJI ultimately survives the FRBNY’s action, the imminent loss of customer

goodwill and reputational damage is alone sufficient to find irreparable harm. Broker Genius, Inc.

v. Volpone, 313 F. Supp. 3d 484, 496 (S.D.N.Y. 2018) (finding irreparable harm where movant

demonstrated that it would “incur loss of reputation, good will, business opportunities, and

customer relationships”).

II.    BSJI IS LIKELY TO SUCCEED ON THE MERITS OR, AT A MINIMUM,
       RAISES SERIOUS QUESTIONS THAT ARE FAIR GROUND FOR
       LITIGATION
       A movant is entitled to a preliminary injunction if, in addition to showing irreparable harm,
it can show a likelihood of success on the merits. Citigroup Glob. Mkts., Inc. v. VCG Special

Opportunities Master Fund Ltd., 598 F.3d 30, 38 (2d Cir. 2010). “To establish a likelihood of

success, [a] plaintiff[] ‘need not show that success is an absolute certainty. [He] need only make

a showing that the probability of [his] prevailing is better than fifty percent.’” Airbnb, Inc. v. City

of New York, 373 F. Supp. 3d 467, 480 (S.D.N.Y. 2019) (quoting Eng v. Smith, 849 F.2d 80, 82

(2d Cir. 1988)). As an alternative to showing a likelihood of success on the merits, a party can

show “sufficiently serious questions going to the merits to make them a fair ground for litigation




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and a balance of hardships tipping decidedly toward the party requesting the preliminary relief.”

Citigroup, 598 F.3d at 35 (internal citations ommitted).

       As BSJI’s Complaint demonstrates, the Board’s and the FRBNY’s actions will: (1) deprive

BSJI of a statutory right, (2) violate the Administrative Procedure Act, (3) violate BSJI’s right to

due process, (4) breach the FRNBY’s contractual duty of care, and (5) breach the implied covenant

of good faith and fair dealing. To obtain a preliminary injunction, BSJI need only “show a likelihood

of success on the merits of at least one of [their] claims.” L.V.M. v. Lloyd, 318 F. Supp. 3d 601,

618 (S.D.N.Y. 2018) (quoting Westchester Legal Servs., Inc. v. Westchester Cty., 607 F. Supp.

1379, 1382 (S.D.N.Y. 1985)). BSJI is entitled to a preliminary injunction under either standard.

       A.      Likelihood of Success on the Merits

               1.      BSJI Has a Nondiscretionary Statutory Right to a Master Account
       12 U.S.C. § 248a(c)(2) mandates that “[a]ll Federal Reserve bank services covered by the

fee schedule shall be available to nonmember depository institutions.” (Emphasis added.) Until

recently, this statute was interpreted both by the Board and the Federal Reserve Banks as conferring

nondiscretionary access to Federal Reserve payment services (which require a master account to

facilitate these services) to all nonmember depository institutions. Fourth Corner, 861 F.3d at 1072

(“The Board of Governors’ past interpretations of the statute are widely shared by officials of the

regional Federal Reserve Banks, who join the chorus of officials recognizing that the

[Deregulation Act] extends Federal Reserve services to all nonmember depository institutions.”).

       Given the previously uncontroversial nature of this right, the statute has been the subject of

limited judicial review. Importantly, the only federal circuit court judge to interpret this provision

in   relation to    master accounts recently found, in             an   exhaustive opinion, that

“§ 248a(c)(2) unambiguously entitle[s] all nonmember depository institutions to a master

account.” Fourth Corner, 861 F.3d at 1070. In rendering this opinion, Judge Bacharach thoroughly

examined not only the statute’s language, but also past interpretations by the Board and officials

with the regional Federal Reserve Banks, legislative history, and interpretations of § 248a(c)(2) by

other circuit courts and academics. Id. at 1068-73. These findings compellingly illustrate BSJI’s
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statutory right to a master account; indeed, Judge Bacharach’s analysis was deemed so compelling

in ongoing litigation before a sister district court – which presents a near-identical issue concerning

the Federal Reserve Banks’ “discretionary” denials of master accounts – that the district court found

there to be a triable issue “mostly based” on his opinion alone. See Custodia Bank, Dkt. 164 at 12.

        The Federal Reserve payments system is a collection of services provided by the Federal

Reserve Banks that are “indispensable for all financial institutions.” Fourth Corner, 861 F.3d at

1064. 7 These services include the ability to clear checks and make wire transfers as well as

currency and coin services. See 12 U.S.C. § 248a(b). Without those services, a “depository

institution is nothing more than a vault.” Fourth Corner, 861 F.3d at 1053 (Moritz, J.).

        Context is helpful. Before 1980, the Federal Reserve payments system was an unequal

regime. Large commercial banks that were members of the Federal Reserve established Automated

Clearing House (“ACHs”) networks through which they exercised effective monopoly control over

access to the national electronic payments system, charging nonmember banks for access to the

Federal Reserve System services they received for free. 8 In landmark legislation recognizing the

importance of Federal Reserve System services, Congress passed what is now 12 U.S.C. §

248a(c)(2) as part of the Depository Institutions Deregulation and Monetary Control Act of 1980

(the “Deregulation Act”) with the goal of giving “every nonmember depository institution” access

“to Federal Reserve services.” See Fourth Corner, 861 F.3d at 1073 (emphasis added).

        The Deregulation Act requires the Board provide “a proposed schedule of fees . . . for

Federal Reserve Bank services to depository institutions.” 12 U.S.C. § 248a(a). The fee schedule

explicitly covers numerous Federal Reserve Bank services – services essential to any depository

institution, and all of which require a master account – as well as “any new services which the

Federal Reserve System offers.” Id. § 248a(b). Critically, the Deregulation Act provides that



7
  Unless otherwise indicated, all citations to Fourth Corner are to the opinion of Judge Bacharach.
8
  See A. Kuprianov, The Monetary Control Act and the Role of the Federal Reserve in the Interbank Clearing Market,
Econ. Rev. (July/Aug. 1985),
https://www richmondfed.org/media/richmondfedorg/publications/research/economic_review/1985/pdf/er710403.pd
f.
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“[a]ll Federal Reserve bank services covered by the fee schedule shall be available to nonmember

depository institutions . . . .” 12 U.S.C. § 248a(c)(2) (emphasis added). 9

         The statute’s language is clearly non-discretionary. Congress’s use of the word “shall”

imposes “discretionless obligations.” Lopez v. Davis, 531 U.S. 230, 241 (2001). Section 248a(c)(2)

thus “is not ambiguous. The plain text of § 248a(c)(2) indicates that nonmember depository

institutions are entitled to purchase services from Federal Reserve Banks. To purchase these

services, a master account is required. Thus, “nonmember depository institutions . . . are entitled to

master accounts.” Fourth Corner, 861 F.3d at 1071. This language is consistent with congressional

intent to afford all depository financial institutions access to essential Federal Reserve services. See

id. at 1069.

         Further, and as earlier discussed, the Board has until recently “uniformly interpreted the

[Deregulation Act] to extend Federal Reserve services to all ‘depository institutions.’” Id. at 1070-

71 (citing policy publications by the Board); see also Bd. of Governors of the Fed. Reserve Sys.,

Policies: Standards Related to Priced-Service Activities of the Federal Reserve Banks (1984) (the

Board of Governors understood that the Deregulation Act had “expanded the Federal Reserve’s role

by requiring the Federal Reserve to provide its services to all depository institutions on an equitable




9
  BSJI is a “nonmember depository institution” within the meaning of 12 U.S.C. § 248a(c)(2). The term “depository
institution” means “any insured bank as defined in Section 3 of the Federal Deposit Insurance Act of 1933, as amended
[12 U.S.C. § 1813] (the “FDI Act”) or any bank which is eligible to make application to become an insured bank under
Section 5 of the FDI Act [12 U.S.C. § 1815].” 12 U.S.C. § 461(b)(1)(A)(i). The term “bank,” in turn, means “any
insured or noninsured bank, as defined in Section 3 of the FDI Act [12 U.S.C. § 1813].” Id. § 461(b)(1)(B). Section 3
of the FDI Act defines “noninsured bank” as “any bank the deposits of which are not . . . insured,” 12 U.S.C. § 1813(h),
where “bank” means, as relevant here, “any bank, banking association, trust company, savings bank, industrial bank . .
. , or other banking institution which—(A) is engaged in the business of receiving deposits, other than trust funds . . ;
and (B) is incorporated under the laws of any State [or Puerto Rico] . . . .” 12 U.S.C. § 1813(a)(1)–(3). BSJI is a
banking institution engaged in the business of receiving deposits and is incorporated under the laws of Puerto Rico.
Declaration of Marcelino Bellosta Varady (“MBW Decl.”) ¶ 6.
As such, it is eligible to become an insured bank under 12 U.S.C. § 1815 and is therefore a “depository institution” within
the meaning of 12 U.S.C. § 248a(c)(2).

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basis . . . .”). 10 The FRBNY itself has acknowledged that “services will be available equally to all

depository institutions” in light of the Deregulation Act. 11

          The statute’s legislative history also makes clear that BSJI has a right to a master account.

The House Committee on Banking Finance and Urban Affairs, for instance, believed that “the

wide access to Federal Reserve services for nonmember banks authorized by” the Deregulation

Act would ensure “that a basic level of services is available to all banks throughout this country

on a nondiscriminatory basis.” Fourth Corner, 861 F.3d at 1072 (citing H.R. Rep. No. 95-1590,

at 20 (1978)) (emphasis added). The joint conference report echoes this understanding. See id. at

1072–73 (citing 126 Cong. Rec. 6250 (1980) (Conf. Rep.)). As Judge Bacharach concluded, “the

legislative history supports the widespread agreement that the [Deregulation Act] entitles every

nonmember depository institution to Federal Reserve services.” Id. at 1073 (emphasis added).

          The Second Circuit has also addressed the broader question of equal access to Federal

Reserve System services and expressly “interpreted § 248a(c)(2) to establish open access to

Federal Reserve services.” Id. (citing Greater Buffalo Press, Inc. v. Fed. Reserve Bank of N.Y.,

866 F.2d 38, 40 (2d Cir. 1989)). Academics likewise interpret “§ 248a(c)(2) to entitle all

depository institutions to Federal Reserve services.” Id. (citing Timothy K. Armstrong, Chevron

Deference and Agency Self-Interest, 13 CORNELL J.L. & PUB. POL’Y 203, 231 n.148 (2004);

Thomas C. Baxter, Jr. & James H. Freis, Jr., Fostering Competition in Financial Services: From

Domestic Supervision to Global Standards, 34 NEW ENG. L. REV. 57, 70 (1999); Fred H. Miller,

Robert G. Ballen, & Hal S. Scott, Commercial Paper, Bank Deposits and Collections, and

Commercial Electronic Fund Transfers, 39 BUS. LAW. 1333, 1365 (1984)). That “no federal court

has interpreted” the Deregulation Act to allow Federal Reserve Banks to deny depository



10
     http://www federalreserve.gov/paymentsystems/pfs_standards htm
11
    FRBNY, Annual Report: 1980 at 35 (1981), https://fraser.stlouisfed.org/files/docs/historical/frbny/
1980_frb_newyork.pdf; accord Bd. Governors Fed. Reserve Sys., Policies: The Federal Reserve in the Payments
System (1990) (“Federal Reserve payment services are available to all depository institutions.”),
http://www federalreserve.gov/paymentsystems/pfs_frpaysys.htm

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institutions access to a master account further supports a finding that BSJI is likely to succeed on

the merits. Fourth Corner, 861 F.3d at 1073.

          The impropriety of the FRBNY’s and the Board’s interpretation of their statutory authority

is likewise aptly illustrated by the Supreme Court’s recent decision in Biden v. Nebraska. See

supra p. 4. In Nebraska, the Court was confronted with an interpretation of statutory authority –

the Secretary of Education’s capacity to waive student debt – that, if accepted, would have

expanded the Secretary’s powers so greatly that it would have functionally introduced a “new

[statutory] regime.” Nebraska, 143 S. Ct. at 2371. The court rejected this understanding and ruled

that an interpretation, and corresponding exercise, of statutory authority cannot “distort the

fundamental nature of the provision it alters.” Id. at 143 S. Ct. at 2358. As the Supreme Court

held, a statute’s interpretation cannot subvert its plain text. So too here. Section 248a(c)(2)’s plain

text, which affords no regulatory or other discretion, requires that Federal Reserve Banks provide

master account access on a non-discretionary basis.

                 2.      The FRBNY and the Board Cannot Terminate Master Accounts on
                         Arbitrary Grounds
          Even if § 248a(c)(2) had been written to confer a degree of discretion to the FRBNY and

the Board in determining the criteria for master account access, their decision to terminate BSJI’s

master account here does not withstand scrutiny. As a federal agency, the FRBNY and the Board
are subject to the strictures of the Administrative Procedure Act (“APA”), which prohibits such

arbitrary and reasonless exercises of regulatory authority. BSJI also is entitled to the protections

of due process (plainly not afforded here) where the federal government seeks to deprive it of a

property interest. These statutory and constitutional rights militate in favor of granting injunctive

relief.

                         a.     The FRBNY and the Board are each an “Agency” for
                                Purposes of the APA
          There is no question that the Board is an agency of the United States government. The

FRBNY likewise functions as an agency for purposes of the APA; it is therefore required to abide


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by its statutory requirements in its decision-making process. The APA defines an agency as “each

authority of the Government of the United States, whether or not it is within or subject to review

by another agency” (5 U.S.C. § 551(1)). This definition has in turn been interpreted to encompass

federal instrumentalities that “exercise substantial independent authority.” Dong v. Smithsonian

Inst., 125 F.3d 877, 881-82 (D.C. Cir. 1997).

        Such is the case here. As federal courts have noted in finding the APA to apply to Federal

Reserve Banks, the Federal Reserve Board – indisputably an agency – has “extensively delegated

its functions and its authority to the Federal Reserve Banks.” Lee Const. Co., Inc. v. Fed. Rsrv.

Bank of Richmond, 558 F. Supp. 165, 177-178 (D. Md. 1982) (finding the Federal Reserve Bank

of Richmond to be an “agency” under the APA). With this delegated power, Federal Reserve

Banks act as the proverbial “sheriff’s deputy” or gatekeeper to the federal banking system,

wielding extensive decision-making authority over the United States’ monetary policy, monetary

system, supervision and regulation, and (of late) the institutions that are afforded access. Flight

Int’l Group, Inc. v. Fed. Reserve Bank of Chicago, 583 F. Supp. 674 (N.D. Ga. 1984), vacated on

other grounds, 597 F. Supp. 462, 678-79 (N.D. Ga. 1984) (noting that the Federal Reserve Banks

perform “important governmental functions and exercises powers entrusted to it by the United

States government” in finding the Federal Reserve Bank of Chicago to be an “agency” under the

APA).

                       b.     The Decision to Terminate BSJI’s Master Account Violates the
                              APA
        The APA directs reviewing courts to “hold unlawful and set aside agency action” found to

be “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5

U.S.C. § 706(2)(A). The APA thus “establishes a scheme of ‘reasoned decision-making.”

Allentown Mack Sales & Serv., Inc. v. N.L.R.B., 522 U.S. 359, 374 (1998) (quoting Motor Vehicle

Mfrs. Ass’n v. State Farm Mut. Automobile Ins. Co., 463 U.S. 29, 52 (1983)). “Not only must an

agency’s decreed result be within the scope of its lawful authority, but the process by which it

reaches that result must be logical and rational.” Id.

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        “Put simply, the APA requires that an agency’s exercise of its statutory authority be

reasonable and reasonably explained.” Mfrs. Ry. Co. v. Surface Transp. Bd., 676 F.3d 1094, 1096

(D.C. Cir. 2012). Determining whether agency decisions violate the APA “involves examining

the reasons for agency decisions, or the absence of such reasons.” Judulang v. Holder, 565 U.S.

42, 53 (2011). And it is a “foundational principle of administrative law that a court may uphold

agency action only on the grounds that the agency invoked when it took the action.” Michigan v.

E.P.A., 576 U.S. 743, 758 (2015).

       The decision to terminate BSJI’s master account cannot survive this scrutiny. As addressed

above, the Board and the FRBNY are obligated to make master accounts available to statutorily

eligible institutions on a non-discretionary basis. See supra pp. 18-22. It necessarily follows that

their failure to do so with respect to BSJI violates their obligation to exercise their statutory

authority in a reasonable manner.

       But BSJI’s entitlement to a master account does not rest solely on the non-discretionary

nature of master account access. Even if the FRBNY and/or the Board are assumed to have

discretion as to master account access, their actions here would still violate the APA. Most

glaringly, the FRBNY’s amorphous and ever-shifting rationale for terminating BSJI’s master

account lacks any rational basis. As the Court will see, BSJI has been made to play the arcade

game of “Whack-A-Mole,” as each successive interaction with the FRBNY raises new issues to

beat down.

       As to the “phantom deadline” the FRBNY initially relied upon, BSJI twice contacted the

FRBNY, in light of the FRBNY’s conflicting guidance concerning the requisite submission date

of its 2022 compliance reports (including FRBNY’s requirement for 12 months of content and the

grant of an additional 90 days to prepare and finalize the report), both explaining its understanding

of the relevant requirements and requesting further guidance. HPV Decl. Ex. 1-2. In both

instances, BSJI’s outreach went unanswered. Thereafter, without warning, in July 2022 – three

months after BSJI initially asked the FRBNY for guidance – the FRBNY notified BSJI that it was

“exercising our discretion to terminate BSJI’s master account.” The FRBNY did not acknowledge

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BSJI’s outreach, but instead asserted that the Bank was “noncompliant” with the very 2022

compliance reporting deadlines that were the subjects of BSJI’s touchpoints with the agency.

       The FRBNY’s attempt to paper over the arbitrariness of this decision with the 2023 Closure

Letters is equally inappropriate. The 2023 Closure Letters are rife with inaccuracies and rely on

outdated information – information which was readily available to the FRBNY had it sought it.

The purported issues the FRBNY identified also fail to account for BSJI’s modest risk profile,

deriving from its limited client base and transaction volume. These undisputable facts, of which

the FRBNY was well aware, render its conclusion that BSJI poses an “undue risk to the overall

economy” of the United States nonsensical and unsupportable. With its tiny footprint, it cannot be

that BSJI, which has never been charged with illicit activity and

                                   and by three independent audit firms, poses an “undue threat to

the overall economy” when its total transactions are but a very small fraction of the total amount

of a single global financial institution’s Board-imposed fines (for AML and sanctions violations

and other compliance failures) against that institution. Unfairly to BSJI, the latter institution

continues to hold a master account. CL Decl. ¶¶ 28-30.

       The FRBNY, however, simply shifted its rationale once, again, claiming that its decision

was actually based on its “unspecified shell company” theory, even though the FRBNY has failed

to identify a single customer or transaction at issue and notwithstanding that BSJI’s customers do

not include a single shell company.

          The FRBNY’s conjured rationales for depriving BSJI of its master account, and its

unwillingness to engage with BSJI concerning its purported concerns, is far from the “reasoned

decision making” required by the APA. Equally, the Board’s validation of the FRBNY’s improper

interpretation of the scope of its authority was a clear abdication of its responsibilities as the

Federal Reserve Banks’ supervisory authority, and itself violated the APA. See State Farm, 463

U.S. at 42-43 (explaining agency action is arbitrary and capricious if it is not based on a “reasoned

analysis” that indicates the agency “examine[d] the relevant data and articulate[d] a satisfactory

explanation for its action including a rational connection between the facts found and the choice

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made” (citation and internal quotation marks omitted)); United Techs. Corp. v. U.S. Dep’t of Def.,

601 F.3d 557, 562 (D.C. Cir. 2010) (stating that a court will “not defer to [an] agency’s conclusory

or unsupported suppositions”); City of Brookings Mun. Tel. Co. v. FCC, 822 F.2d 1153, 1169 &

n.46 (D.C. Cir. 1987).

                3.      Terminating the Master Account Would Violate BSJI’s Right to Due
                        Process
       Under the Due Process Clause, government actors are prohibited from depriving property

by means of a process “so standardless than it invites arbitrary enforcement.” Beckles v. United

States, 580 U.S. 256, 262 (2017) (quoting Johnson v. United States, 576 U.S. 591, 595, (2015).
To state a due process claim, “a plaintiff must show that: (1) state action (2) deprived him or her

of liberty or property (3) without due process of law.” Barrows v. Burwell, 777 F.3d 106, 113 (2d

Cir. 2015). These criteria are readily met here.

       12 U.S.C. § 248a(c)(2) unequivocally establishes the right of nonmember depository

institutions to access Federal Reserve services and a corresponding master account. See supra pps

18-22. Similarly, it is well-established that statutes like § 248a(c)(2), which “plac[e] substantive

limitations on official discretion.... [generally] by establishing substantive predicates to govern

official decision-making, and []by mandating the outcome to be reached upon a finding that the

relevant criteria have been met,” create a protected property interest on the statutory entitlement.
Ky. Dep't of Corr. v. Thompson, 490 U.S. 454, 462 (1989); Kapps v. Wing, 404 F.3d 105, 113 (2d

Cir. 2005) (“To [the] extent that state or federal law meaningfully channels the discretion of state or

local officials by mandating an award of [a statutory entitlement] to applicants who satisfy prescribed

eligibility criteria, plaintiff-applicants possess a property interest.”) (internal quotations omitted).

BSJI therefore has a protectable property interest in its master account.

        The second and third elements of a due process claim are likewise clearly met. The FRBNY

has already determined that BSJI’s master account will be closed on July 31, 2023, depriving it of

the aforementioned property right. As discussed supra (see p.24), the FRBNY’s decision to ignore

BSJI’s requests for guidance for the 2022 report deadline, only to then announce a termination of

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BSJI’s master account based on non-compliance with its “phantom deadline,” in combination with

its recent disingenuous assessment of BSJI’s compliance program, without giving BSJI a meaningful

opportunity to be heard or cure any alleged violation, lacks any semblance of due process. The

FRBNY and the Board are instead playing the Almighty, choosing who shall live and who shall die,

regardless of the enormous investments and devotion of resources involved and the employees

whose livelihood hangs in the balance. BSJI is thus likely to succeed on the merits of its due process

claim.

                4.     Terminating the Master Account Would Breach FRBNY’s
                       Contractual Duty of Care and the Duty of Good Faith and Fair
                       Dealing
         The FRBNY’s termination of BSJI’s master account would also give rise to a breach of its

contractual duty of care and breach the covenant of good faith and fair dealing implied in every

contract under New York law. BSJI’s master account was opened on April 5, 2012 pursuant to a

Foreign Banking Institution Account Agreement between BSJI and the FRBNY, which is

governed by New York law. ADL Decl. Ex. 1.

         Under Operating Circular No. 1, and independent of its statutory obligations, the FRBNY

is contractually obligated to act with a duty of care, and it must exercise “good faith.” ADL Decl.

Ex. 2 ¶ 7.1. Likewise, “New York law implies a covenant of good faith and fair dealing, ‘pursuant

to which neither party to a contract shall do anything which has the effect of destroying or injuring

the right of the other party to receive the fruits of the contract.’” Thyroff v. Nationwide Mut. Ins.

Co., 460 F.3d 400, 407 (2d Cir. 2006) (quoting M/A–COM Sec. Corp. v. Galesi, 904 F.2d 134,

136 (2d Cir. 1990)).

         BSJI entered into a contract (the Account Agreement) with the FRBNY to receive a master

account. As discussed above, a “master account is required to purchase services that are

indispensable for all financial institutions.” See Fourth Corner, 861 F.3d at 1064. Because a

master account is obligatory for a depository institution like BSJI to exist, BSJI reasonably

expected when it entered into the Account Agreement that FRBNY would not arbitrarily terminate


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the account. Indeed, BSJI spent multiple years and more than $6 million developing internal

controls and compliance measures based on the understanding that the FRBNY would act in good

faith with respect to BSJI’s access to Federal Reserve payment systems.

        Termination based on arbitrary enforcement and improper assumptions (including, among

other things, that Puerto Rican IBEs are connected to Venezuelan illicit activity) – and with no

opportunity to address the FRBNY’s specific concerns – is quintessential bad faith and wholly

impairs the value of the contract for BSJI. See MBW ¶ 10. If the FRBNY and the Board retain

unfettered discretion to terminate master accounts, they have a free hand to shut down entire

financial institutions – big and small – at whim and without notice, not only in Puerto Rico but

also in New York. Both the express obligations of Operating Circular No. 1, and the implied

covenant of good faith and fair dealing, protect a promisee like BJSI’s reasonable expectations.

See TVT Recs. v. Island Def Jam Music Grp., 244 F. Supp. 2d 263, 278 (S.D.N.Y. 2003).

        B.       Serious Questions Present Fair Ground for Litigation
        The preceding discussion likewise demonstrates that there are “sufficiently serious questions
going to the merits to make them a fair ground for litigation,” (Citigroup, 598 F.3d at 35) which

alone is enough to afford BSJI relief without the Court having to consider the likelihood of success

on the merits. A preliminary injunction is warranted under the “serious questions” standard so long

as the “balance of hardships tips decidedly toward the party requesting the preliminary relief.”
Citigroup, 598 F.3d at 35 (internal citation omitted). Such circumstances manifest “in situations

where it cannot determine with certainty that the moving party is more likely than not to prevail on

the merits of the underlying claims, but where the costs outweigh the benefits of not granting the

injunction.” Id. (citing F. & M. Schaefer Corp. v. C. Schmidt & Sons, Inc., 597 F.2d 814, 815-19

(2d Cir.1979)).

        Here, on the one side of the ledger, FRBNY’s announced actions would almost certainly

put BSJI out of existence. 12 On the other side of the ledger, granting the injunction would merely


12
  “Without such access, a depository institution is nothing more than a vault.” Fourth Corner, 861 F.3d at 1053
(Moritz, J.).
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preserve the status quo pending litigation for a short period of time, permitting the Bank to

continue to serve its customers with normal or even additional regulatory oversight. Afterall, the

FRBNY was satisfied enough to allow the Bank to maintain its master account for 2 1/2 years

since account access was restored in December of 2020. If the banking system was not threatened

by the continuation of BSJI in this period, it will not be during the course of expedited litigation.

And if the Board or the FRBNY have any evidence-based, articulable concerns, those concerns

could be accommodated by the imposition of reasonable conditions on the grant of the Motion.

        In all events, the balance of hardships therefore tips decidedly in BSJI’s favor. See, e.g.,

Roso-Lino Beverage Distributors, Inc. v. Coca-Cola Bottling Co. of NY, 749 F.2d 124, 126 (2d

Cir. 1984) (reversing denial of preliminary injunction and finding equities tipped “decidedly” and

“rather heavily” in favor of plaintiff-distributor who stood to “lose their business forever” without

injunction where defendant-manufacturer would only need to continue to maintain eleven-year

relationship “for a short while”); Broker Genius, Inc., 313 F. Supp. 3d at 510 (finding balance of

hardships favored injunction where movant would suffer “loss of reputation, good will, business

opportunities, and customer relationships,” and where non-moving party identified only one

harm); AIM Int’l Trading LLC v. Valcucine SpA., 188 F. Supp. 2d 384, 388 (S.D.N.Y. 2002)

(“[T]he balance of equities tips firmly in plaintiffs’ favor if the status quo is not preserved, their

business will be wiped out.”).

III.    THE PUBLIC INTEREST FAVORS GRANTING AN INJUNCTION
        The Court must also consider whether an injunction is in the public interest. New York ex

rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 650 (2d Cir. 2015). “The public interest

generally supports a grant of preliminary injunctive relief where . . . a plaintiff has demonstrated

a substantial likelihood of success on the merits and a strong showing of irreparable harm.” A.T.

by & through Tillman v. Harder, 298 F. Supp. 3d 391, 417 (N.D.N.Y. 2018). That is the case

here.




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       Temporarily enjoining the FRBNY and the Board from terminating BSJI’s master account

pending litigation is also in the public’s interest in that also allow BSJI to continue to facilitate

economic development and retain employees who will otherwise lose their jobs.

       The public interest is also aptly illustrated by the FRBNY’s own actions. Despite claiming

that BSJI posed an “undue risk” to the Federal Reserve system, it has not identified a single

material issue of activity that gives rise to such risk. CL Decl. ¶ 8-9. More pointedly, the FRBNY

has itself found that BSJI’s systems of controls render it at the “front of the line” and found as

recently as 30 months ago that BSJI posed no undue risk so as to warrant BSJI’s renewed access

to Federal Reserve services. Nothing has happened in the intervening 30 months to justify a

reversal of position.    On the contrary, BSJI’s business has been reviewed by K2, AML

RightSource, credit card network VISA, and the Financial Industry Regulatory Authority

(“FINRA”), each of whom found BSJI’s business model satisfactory. FINRA, for example, is the

self-regulatory organization in the United States that regulates and supervises securities broker

dealers and is responsible for approving (or disapproving) prospective direct and indirect acquirors

of 25% or more of the voting securities of a FINRA-member securities broker dealer. FINRA

conducted an exhaustive assessment of BSJI and its sole stockowner, Mr. Marcelino Bellosta, in

connection with BSJI’s acquisition of a 40% interest in Intelligenics, Inc., a securities brokerage

and financial services firm that has over $1,500 million in assets under management across the

United States and Latin America. FINRA’s rigorous analysis of BSJI and its owner lasted more

than six months, and concluded when FINRA approved BSJI’s acquisition, hardly a result that

would have been reached had BSJI posed “an undue risk to the overall economy,” as the FRBNY

claims. Likewise, in 2020, the U.S. Department of Treasury’s Office of Foreign Assets Control

(“OFAC”) conducted a civil investigation and audit of BSJI’s OFAC compliance plan. OFAC

closed that investigation without a single finding and BSJI’s OFAC compliance plan has only been

enhanced since then, demonstrating the fragility of the FRBNY’s claims.

       Equally, “[t]here is generally no public interest in the perpetuation of unlawful agency

action. To the contrary, there is a substantial public interest in having governmental agencies

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abide by the federal laws that govern their existence and operations." League of Women Voters of
US. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (internal citations and quotations omitted). Finally,
''[t]here is a well-recognized public interest in enforcing contracts and upholding the rule of law."
Bank of Am., NA. v. Won Sam Yi, 294 F. Supp. 3d 62, 81 (W.D.N.Y. 2018) (citations omitted).
       Even if the FRBNY and the Board could divine some public interest in favor of their
arbitrary action, this Court can act to protect such interest by conditioning its grant of the Motion
on BSTI compliance with conditions reasonably designed to address such interests. See, e.g., Bhd.
of Locomotive Eng'rs v. Missouri-Kansas-Texas R. Co., 363 U.S. 528, 531-32 (1960) (holding
district courts can condition preliminary injunctions on the applicant undertaking a particular
action).

                                            CONCLUSION
           For all of the foregoing reasons, BSJI respe�tfully requests that the Court enter a temporary
restraining order before July 31, 2023, and a preliminary injunction as soon thereafter as is
practicable.

Dated: July 24, 2023                      By:


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